

People v Zelazny (2021 NY Slip Op 05101)





People v Zelazny


2021 NY Slip Op 05101


Decided on September 28, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 28, 2021

Before: Webber, J.P., Mazzarelli, González, Scarpulla, Pitt, JJ. 


Ind No. 5403/16 Appeal No. 14196 Case No. 2019-2352 

[*1]The People of the State of New York, Respondent,
vSandra Zelazny, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Brittany N. Francis of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Kerry Fulham of counsel), for respondent.



Judgment, Supreme Court, New York County (Juan M. Merchan, J.), rendered January 25, 2019, convicting defendant, upon her guilty plea, of assault in the second and third degrees, and sentencing her to an aggregate term of three years with three years' post-release supervision, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the conviction of assault in the third degree and dismissing that count, and otherwise affirmed.
Defendant made a valid waiver of her right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 US __, 140 S Ct 2634 [2020]; People v Bryant, 28 NY3d 1094 [2016]), which forecloses review of her excessive sentence claim. Regardless of the validity of defendant's appeal waiver, we perceive no basis for reducing the sentence.
The People concede that defendant's conviction of third-degree assault should be vacated as an inclusory concurrent count.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 28, 2021








